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                       QD       QD              QD
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                                       ORDER

  IT IS SO ORDERED.

  DATED this _____ day of May, 2014.


                                               _____________________________________
                                                           Lloyd D. George
                                                       Sr. U.S. District Judge
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